AO 245C-CAED (Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal C
                                                                     (NasOeTE: Identify Changes with Asterisks*)
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                                      United States District Court
                                        Eastern District of California

           UNITED STATES OF AMERICA                            AMENDED JUDGMENT IN A CRIMINAL CASE
                      v.                                       (For Offenses Committed On or After November 1, 1987)
             TERRY ANN ROBERSON                                Case Number: 2:10CR00211-01

Date of Original Judgment: 4/20/12                             Doug Beevers
(Or Date of Last Amended Judgment)                             Defendant’s Attorney
Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))   [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or
                                                               3583(e))
[ ] Reduction of Sentence for Changed Circumstances            [ ] Modification of Imposed Term of Imprisonment for Extraordinar
    (Fed R. Crim. P. 35(b))                                           Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim   [ ] P.
                                                                    Modification
                                                                       35(c))    of Imposed Term of Imprisonment for Retroactive
                                                                     Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c
[ ] Correction of Sentence for Clerical Mistake (Fed. R. Crim. [ ] P.
                                                                    Direct
                                                                       36) Motion to District Court Pursuant to [ ] 28 U.S.C. §225
                                                                     [ ] 18 U.S.C. §3559(c)(7),      [U] Modification of Restitution
THE DEFENDANT:
[U]    pleaded guilty to count(s): 1 of the Indictment .
[]     pleaded nolo contendere to counts(s)         which was accepted by the court.
[]     was found guilty on count(s)       after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                             Date Offense                  Count
Title & Section          Nature of Offense                                   Concluded                    Number(s)
18 USC 286               Conspiracy to Defraud the Government               10/11/07                      1
                         Class D Felony



       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
[]      The defendant has been found not guilty on counts(s)       and is discharged as to such count(s).
[U]     Count(s) 2 through 12 of the Indictment (is)(are) dismissed on the motion of the United States.
[]      Indictment is to be dismissed by District Court on motion of the United States.
[]      Appeal rights given.                     [U]     Appeal rights waived.
        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                         6/19/12
                                                         Date of Imposition of Judgment




                                                         Signature of Judicial Officer

                                                         GARLAND E. BURRELL, JR., Senior U. S. District Judge
                                                         Name & Title of Judicial Officer

                                                         9/15/14
                                                         Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
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DEFENDANT:        TERRY ANN ROBERSON

                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 26 months .



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be incarcerated in a California facility, but only insofar as this
        accords with security classification and space availability.


[]      The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on .
        [ ] as notified by the United States Marshal.


[U]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [U] before 2 p.m. on 7/20/12 .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                        RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to
at                                           , with a certified copy of this judgment.



                                                                                   UNITED STATES MARSHAL


                                                                         By
                                                                                          Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
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DEFENDANT:        TERRY ANN ROBERSON

                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months .

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, not to exceed four (4) drug tests per month.
[U]     The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk
        of future substance abuse. (Check, if applicable.)
[U]     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
        applicable.)
[U]     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
[]      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
        16901, et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
        agency in which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
[]      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
1)  the defendant shall not leave the judicial district without permission of the court or probation officer;
2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)  the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)  the defendant shall support his or her dependants and meet other family responsibilities;
5)  the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
    other acceptable reasons;
6) the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
    confiscation of any contraband observed in plain view by the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
    enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
    without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
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                                 SPECIAL CONDITIONS OF SUPERVISION

      1.   The defendant shall submit to the search of her person, property, home, and vehicle by a United
           States probation officer, or any other authorized person under the immediate and personal
           supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
           Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
           residents that the premises may be subject to searches pursuant to this condition.

      2.   The defendant shall not dispose of or otherwise dissipate any of her assets until the fine and/or
           restitution order by this Judgment is paid in full, unless the defendant obtains approval of the
           Court or the probation officer.

      3.   The defendant shall provide the probation officer with access to any requested financial
           information.

      4.   The defendant shall not open additional lines of credit without the approval of the probation
           officer.

      5.   The defendant shall not be employed in any position which requires her to have fiduciary
           responsibility.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
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                                                   CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                        Assessment                        Fine                      Restitution
       Totals:                                            $ 100                            $                      $ 272,750.42


[ ] The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will
    be entered after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed
    below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
       § 3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                          Total Loss*                                 Restitution Ordered        Priority or Percentage
Unit Collection Officer, Claims Branch 272,750.42                                     272,750.42
USFS Albuquerque Service Center
101B Sun Avenue
Albuquerque, New Mexico 87109-4473


       TOTALS:                                       $ 272,750.42                    $ 272,750.42



[]     Restitution amount ordered pursuant to plea agreement $

[ ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is
    paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
    payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §
    3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                   [ ] fine            [ ] restitution

       [ ] The interest requirement for the                     [ ] fine [ ] restitution is modified as follows:

[ ] If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[ ] If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.



  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18
for offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
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DEFENDANT:                     TERRY ANN ROBERSON
                                                             SCHEDULE OF PAYMENTS



      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [ ] Lump sum payment of $                 due immediately, balance due

          []         not later than , or
          []         in accordance with             [ ] C, [ ] D, [ ] E, or    [ ] F below; or

B     [U]            Payment to begin immediately (may be combined with         [ ] C,           [ ] D, or [ ] F below); or

C     [ ] Payment in equal     (e.g., weekly, monthly, quarterly) installments of $ over a period of                (e.g., months
          or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of    (e.g., months
          or years), to commence      (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     [ ] Payment during the term of supervised release will commence within    (e.g., 30 or 60 days) after release
          from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability
          to pay at that time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[x ] Joint and Several with all of her co-defendants.




[ ] The defendant shall pay the cost of prosecution.

[ ] The defendant shall pay the following court cost(s):

[ ] The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including costs of
prosecution and court costs.
